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                             UNITED STATES DISTRICT
                         COURT NORTHERN DISTRICT OF
                           ILLINOIS EASTERN DIVISION


UNITED STATES OF AMERICA                 )
             Plaintiff                   )      Case No. 14 CR 00287-6
      v.                                 )   Honorable Judge

                                         )       Charles R. Norgle,
James J. Carroll                         )       Presiding

Defendant                                )




           EMERGENCY MOTION TO CONTINUE SENTENCING HEARING



NOW COMES THE DEFENDANT, JAMES CARROLL, by and through his attorney,

Jeffrey B. Steinback, and respectfully requests that an order be entered continuing

the date of his sentencing hearing for 14 days, or to a later date, consistent with

the calendar of this Honorable Court. In support of this motion, the following is

stated.


 1. Mr. Carroll pled guilty to one charge of bank fraud on February 3, 2018. His

     sentencing hearing is currently scheduled for May 3, 2022.

 2. Defense Counsel, Jeff Steinback, has been working to prepare to go forward

     with this hearing on the scheduled date.

 3. During the last 10 days, Attorney Steinback’s granddaughter had a series of

     health emergencies that have caused Mr. Steinback and his wife to travel out

     of town to support their son and granddaughter, Julia, who is 12.

 4. Julia, is a childhood cancer survivor, and had a gran mal seizure about 10

     days ago. Subsequent tests revealed an abnormal EEG and an MRI was
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    ordered to rule out any further brain involvement i.e., tumors, malignancies,

    or other causes.

5. Mr. Steinback and his wife have remained with their son and grand daughter to support

    them through this very difficult time. It is anticipated that they will receive results later

    today, May 2, 2022. On May 4, 2022, a consult with a Pediatric Neurologist at Mayo

    Clinic is scheduled for Julia. Depending on what is diagnosed, Mr. Steinback will return

    to the Chicago area within the next few days.

6. Neither Mr. Steinback, nor Mr. Carroll wish to inconvenience this Honorable Court in

   any way with this request.

7. Mr. Steinback acknowledges that this Honorable Court and Ms. North have been quite

   understanding, and that the date of this sentencing was set to be a final date. There is

   no way that this circumstance, nor the timing of it, could have been anticipated, and

   except for this extreme and possibly devastating chain of events, he would not be

   making this request of this Honorable Court.


WHEREFORE, Defendant, James Carroll, by and through his attorney, Jeffrey B,

Steinback prays this Honorable Court will grant this request and enter an Order

continuing his sentencing date for 14 days, or to a date later, consistent with the

calendar of this Court.

                                                            Respectfully submitted,

                                                            s/ Jeffrey B Steinback

                                                            Attorney at Law

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